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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

JOHN DOE, M.D                                  Case No.: 21-13032
                                               Hon Judge: Gershwin A. Grain
       Plaintiff,

-vs-

THE BOARD OF REGENTS OF THE
UNIVERSITY OF MICHIGAN, MARIE LOZON,
M.D., and JUSTIN DIMICK, M.D., Individually,

       Defendants,
_____________________________________________________________/
MIDWEST LEGAL PARTNERS, PLLC        CUMMINGS, McCLOREY, DAVIS
By: SAIF R. KASMIKHA (P74320)       & ACHO, P.L.C
42705 Grand River Avenue             By: RONALD G. ACHO (P23913)
Suite 201                           17436 College Parkway
Novi, MI 48375                      Livonia, MI 48152
(248) 344-4570                      (734) 261-2400
Attorneys for Plaintiff             Attorneys for Plaintiff
skasmikha@midwestlegalpartners.com  racho@cmda-law.com

HALL, RENDER, KILLIAN, HEATH &           Charles Blackwell
LYMAN, PC                                22655 Fairmont Dr
David A. French (P31944)                 Apt 102
Jonathon A. Rabin (P57145)               Farmington Hills, MI, 48335
Larry R. Jensen (P60317)                 313-739-3597
Attorneys for Defendants                 cblack618@gmail.com
101 W. Big Beaver Rd., Suite 745         Proposed Intervenor
Troy, MI 48084
dfrench@hallrender.com
jrabin@hallrender.com
ljensen@hallrender.com
___________________________________________________________/

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    MOVANT CHARLES BLACKWELL REPLY TO THE DEFENDANT

       COMES NOW Movant Charles Blackwell, proceeding pro se, hereby

submits this reply to the Defendant ECF #64

                                    ARGUMENT

       As the United States Second Circuit Court of Appeals succinctly stated:

"The court's supervisory power does not disappear because jurisdiction over the

relevant controversy has been lost. The records and files are not in limbo. So long

as they remain under the aegis of the court, they are superintended by the judges

who have dominion over the court." Gambale v. Deutsche Bank AG, 377 F.3d 133,

141 (2d Cir. 2004). The Court further stated:

       A district court that concludes that there is a public right of access to judicial

       documents thus acts within its jurisdiction when it modifies or vacates a

       protective order to allow that access, irrespective of whether it does so

       before or after a stipulation of dismissal has been filed.

       Id. at 142

       Lastly, the Court in Gambale stated “parties to litigation nevertheless

"cannot expunge the public interest by the simple expedient of filing a [withdrawal

of action] with the court. The public's stake in the propriety and particulars of the

court's adjudication does not evaporate upon the parties' subsequent decision to

settle." Id. at 140.

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      This published authority from a sister circuit makes clear that the mootness

doctrine does not apply regarding sealed public records even when the case has

been dismissed or settled. Accordingly, "[a]s long as a protective order remains in

effect, the court that entered the order retains the power to modify it, even if the

underlying suit has been dismissed." United Nuclear Corp. v. Cranford Ins.

Co., 905 F.2d 1424, 1427 (10th Cir. 1990), cert. denied, 498 U.S. 1073, 111 S.Ct.

799, 112 L.Ed.2d 860 (1991).

      Movant filed his motion to intervene and motion to unseal before the

Defendant filed their motion to dismiss. (See ECF #8 and ECF #14). The public’s

stake in its right to obtain access to improperly sealed public records cannot be

evaporated or mooted by the Court’s decision to dismiss the Plaintiff’s complaint.

                                                               Respectfully Submitted

                                      CONCLUSION

   WHEREFORE Movant, Charles Blackwell, respectfully asks this Court to

   grant his amend its judgment and grant Movant motion to intervene and unseal.




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                               PROOF OF SERVICE

  I hereby certify that I uploaded this reply brief to the Eastern District of

  Michigan Temporary Pro Se Upload Portal on June 21st, 2022, which will file

  this brief With The Court Through the ECF/CM system and send notification to

  all attorneys of record.




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